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                                                              Florham Park – Main Office    Red Bank
                                                             30B Vreeland Road, Suite 100   280 Route 35, Suite 401
                                                                  Florham Park, NJ 07932    Red Bank, NJ 07701
                                                                        Tel: 973.845.7640   Tel: 732.978.1920, ext 301
                                                                       Fax: 973.845.7645    Fax: 732.852.2973

Parties shall promptly meet and confer.                                        New York     Princeton
                                                                   420 Lexington Avenue     252 Nassau Street
Defendant shall file any response by                                         Suite 300-19   Princeton, NJ 08542
October 22, 2020 at noon.                                           New York, NY 10170      Tel: 609.373.6226
So ordered. 10.21.2020                                                 Tel: 646.205.8038    Fax: 973.845.7645




                                                                   October 21, 2020

    By: ECF
    The Honorable Denise Cote
    United States District Court
    Southern District of New York
    500 Pearl Street, Room 1910
    New York, NY 10007-1312

                   Re:     MASON V. AMTRUST FINANCIAL SERVICES, INC., ET AL.
                           Civil Action No. 19-CV-8364 (DLC)

    Dear Judge Cote:
            This firm represents plaintiff Eugene Mason (“Plaintiff”) in the above matter concerning
    his claims against defendant AmTrust Financial Services, Inc. (“AmTrust”).
            Following our Conference on October 8, 2020, at the Court’s request, we write to request
    assistance from the Court, and request a conference call with regard to a final, single discovery
    issue.
           Following our Conference, AmTrust did not provide substantial discovery. Only a few
    pages of discovery was provided, that was not relevant to the issue at hand.
             In the interest of time, and to adhere to the Court’s discovery schedule, Plaintiff has
    agreed to waive all discovery deficiencies, and all other discovery related issues; provided,
    that AmTrust produce one, single, spreadsheet document. This document is historical, it
    exists, it is readily available, and does not require AmTrust to invest any time, cost or effort. More
    importantly, the document is highly relevant and absolutely critical for the continuation of this
    case.
            The document is a monthly management report for the month of December 2018. Plaintiff
    received these monthly reports while employed as an executive with AmTrust. He has provided
    in discovery a copy of the May 2018 report. However, Plaintiff, and his accounting expert, require
    the year-end December 2018 report. This report includes all of the relevant information needed
    to calculate Plaintiff’s contractual bonus.
           Further, the discovery provided by AmTrust to date is inaccurate and has errors, including
    possible intentional errors. We have noted claim costs on closed policies, that should not exist.
    And we have noted other claim costs that were covered by reinsurance but not credited.
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                                                                     Wednesday, November 13, 2019
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        Based upon current discovery, our expert has already determined that Plaintiff is entitled
to profit-related bonus of approximately $1.2 million to $2.1 million. However, this is based upon
partial year data.
       AmTrust is not providing the document we need. AmTrust has not provided any
objection or rationale as to why it should not be produced. AmTrust is simply ignoring the
request and trying to “run out the clock,” so it seems.
       We request assistance from the Court to compel production in order to avoid discovery
motion practice including a motion to extend discovery. If the document is provided by October
23, 2020, our expert will have sufficient time to deliver his expert report and there will be no need
for motion practice.
       We thank the Court for its gracious courtesies.


                                              Respectfully submitted,
                                              JARDIM, MEISNER & SUSSER, P.C.

                                              /s/
                                              RICHARD S. MEISNER

cc:    William Vita, Esq. (Via ECF)
